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                       UNITED STATES DISTRICT COURT
                      SOUTHERN DISTRICT OF NEW YORK

  NEW CONCEPT ENERGY, INC.

  Plaintiff,                                            No. 18-cv-8896 (VSB) (RJL)

  v.                                                    ECF Case

  GUY GENTILE and
  MINTBROKER INTERNATIONAL, LTD.,

  Defendants.
Related to:
  AVALON HOLDINGS CORP.,

                     Plaintiff,                         No. 18-cv-7291 (VSB) (RJL)

                      v.                                ECF Case

  GUY GENTILE and
  MINTBROKER INTERNATIONAL, LTD.,

                      Defendants.


                        BRIEF IN SUPPORT OF
       NEW CONCEPT ENERGY, INC.’S MOTION FOR SUMMARY JUDGMENT

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                                            OVERVIEW

               This suit is brought by New Concept Energy, Inc. (“New Concept”), an issuer of

publicly traded common stock registered under Section 12(b) of the Securities Exchange Act of

1934, 15 U.S.C. § 78 et. seq., as amended (the “Act”). It seeks to recover short-swing profits

realized and retained by the defendants in violation of Section 16(b) of the Act, 15 U.S.C. § 78p(b),

the so-called “short-swing trading” statute.

               Section 16(b) imposes strict liability, inter alia, on any beneficial owner of more

than 10% of any equity security of an issuer registered under Section 12 of the 1934 Act, 15 U.S.C.

§ 78l. All that need be shown for liability to attach is: (a) the insider status of a defendant; (b) who

purchased and sold shares of the registered class, within any period of less than six months; (c) at

a profit. Gwozdzinsky v. Zell/Chilmark Fund, L.P., 156 F. 3d 305, 308 (2d Cir. 1998).

               Although proof of violations by the Defendants of Section 9 of the Act, 15 U.S.C.

§ 78i, the anti-manipulation statute, need not be pleaded or proven by New Concept to arrive at a

finding of liability under Section 16(b), the trading activity and trading patterns of the Defendants

are inexplicable without recognizing them as consistent with both a pump-and-dump scheme,

which is pleaded, and more specifically, with a scheme to create a short-squeeze, which became

clear during case development.

               Over the course of 5 trading days, the Defendants accumulated and then liquidated

a majority position in the Plaintiff’s common stock. Their high-frequency day trading of New

Concept stock manipulated the stock price to their advantage and constituted a brazen violation of

Section 16(b): After accumulating the majority of the “float” of publicly traded New Concept

shares, the Defendants sprang their trap on less informed short-sellers, who needed, under the

Securities & Exchange Commission’s (SEC’s) Regulation SHO, voluntarily or not, to buy covering



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shares to make delivery. It was, of course, the Defendants who provided the required buy-in shares

to the market at whatever prices the market would bear.

                  As alleged in the related case of Avalon Holdings Corp. v. Guy Gentile and

MintBroker International, Ltd., a similar modus operendi was used a few weeks earlier by the same

Defendants to the same ends.

                  An academic paper entitled “Squeezing the Shorts in Small Cap Stocks” by

Roberto Ricco of Bocconi University (Universita Commerciale Luigi Bocconi; Milan, Italy),

analyzing the application Regulation SHO to the two related cases appears at Exhibit J.1 Neither

of the Plaintiffs in these related cases, nor their counsel, in any way, directly or indirectly, acted to

induce, sponsor or encourage the writing of this paper or exercised any editorial influence over its

content. They learned of its existence only after publication.

The Protagonists:

          New Concept:          The Plaintiff, New Concept Energy, Inc. (“New Concept”), is a

Nevada corporation whose Common Stock is listed and traded on the NYSE American Stock

Exchange, a National Securities Exchange. (Shares of New Concept trade under stock symbol:

GBR.) Trading of New Concept shares also takes place on NASDAQ and through so-called “dark

pools.”

          MintBroker: One of the Defendants, MintBroker International, Ltd. (“MintBroker”), is a

Bahamas corporation which was engaged at this suit’s inception in stock brokerage and proprietary

securities trading from its office in Nassau, Bahamas. While this case has been pending, in or about

November of 2019, MintBroker ceased doing business. Shortly thereafter, the Bahamas Securities

Commission petitioned the Bahamian Supreme Court for, and on March 19, 2020, was granted, an



1
    Exhibits refer to exhibits attached to the accompanying Affidavit of Miriam Tauber.

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order placing MintBroker in court-supervised liquidation. The order provisionally appointed two

Ernst & Young (E&Y) partners as administrators in liquidation. In a statement reported in the

Nassau newspaper The Tribune Business on April 6, 2020, Christina Rolle, the Bahamas Securities

Commission’s Executive Director, described MintBroker’s business model as “akin to a Ponzi

scheme.” (See Ex. N.)

       Guy Gentile: Guy Gentile (“Gentile”), the other Defendant, is the sole owner of

MintBroker. His pecuniary interest in the earnings of MintBroker is 100%, and he directed and

managed MintBroker’s trading of New Concept shares. All of MintBroker’s purchases and sales

were initiated by Gentile or by algorithms under his direction.

               Gentile was previously an “FBI informant in which role he allegedly helped it

uncover and arrest several share trading scammers and con artists.” (Ex. N.) Gentile has been and

currently is the subject of one or more SEC legal actions. See, e.g., SEC v. Gentile, 939 F.3d 549

(3d Cir. 2019), cert. denied, No. 19-878, 2020 WL 1906575 (Apr. 20, 2020), and Plaintiff’s counsel

have provided to the SEC New York Regional Office portions of their investigative files under

subpoena. Gentile is experienced and knowledgeable in securities trading matters.

Limited Reach of This Motion:

               This Motion seeks: (i) a declaration of liability under F.R.C.P. 56(a); and (ii) should

the Defendants not accept New Concept’s computation of damages (Ex. M), a reference of all

accounting matters relevant to a determination of damages, and the amount of damages, to the

assigned Magistrate Judge (Hon. Robert W. Lehrburger) or another designee, acting as a master

pursuant to F.R.C.P. 53(a)(1)(B)(ii).

               Where there are multiple purchases and sales within a short swing period (i.e., a

period of less than six months), damages under Section 16(b) are determined by arbitrarily



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matching trades on the basis of “lowest price in, highest price out.” See Smolowe v. Delendo Corp.,

136 F. 2d 231, 239 (2d Cir. 1943); see also Gratz v. Claughton, 187 F. 2d 46, 51 (2d Cir. 1951),

cert. denied, 341 U.S. 920 (1951); see generally Peter J. Romeo & Alan L. Dye, Sec. 16 DeskBook

(summer 2019 ed.) at 488-489.

               “Profit is computed by matching the highest sale price with the lowest
        purchase price within six months, the next highest sale price with the next lowest
        purchase price within six months, and so on, until all share have been included in
        the computations.” Interpretive Release on Rules Applicable to Insider Reporting
        and Trading, SEC Release No. 34-18114, 1981 WL 31301, at *28 & n.102 (Sept.
        24, 1981).

                As Defendants’ Schedule 13D (Ex. F) and their brokerage trading records covering

the short-swing trading period (Ex. D & Ex. E) evidence, we are dealing with thousands of trades

(2,331 transactions involving 2,325,244 shares purchased and 2,351,858 shares sold, more or less).

As demonstrated by Plaintiff’s provisional computation of damages at Ex. M, the lowest-in,

highest out exercise in matching is, in this case, highly complex. It would be child’s play to raise

an objection to any one of those matches, making damages an unsuitable subject for determination

under the Rule 56 decisional standard applicable only where there are no material facts in dispute.

The resolution of the quantum of damages in this case is precisely the type of scenario appropriate

for referral to a master, acting under a trial standard of proof, pursuant to F.R.C.P. 53 (a)(1)(B)(ii).

                                   DECISIONAL STANDARD

                A Section 16(b) plaintiff is entitled to summary judgment where the “pleadings, the

discovery and disclosure materials on file, and any affidavits show that there is no genuine issue

as to any material fact and that the movant is entitled to judgment as a matter of law.” See Huppe

v. Special Situations Fund III QP, L.P., 565 F. Supp. 2d 495, 497 (S.D.N.Y. 2008), aff’d sub. nom.

Huppe v. WPCS Internat’l, 670 F.3d 214 (2d Cir. 2012) (citing F.R.C.P. 56(c)). A genuine issue

means more than a “metaphysical doubt” as to material facts; but requires evidence that could


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support a reasonable jury in returning a verdict for the nonmoving party.’” Id. (quoting Caldarola

v. Calabrese, 298 F.3d 156, 160 (2d Cir. 2002); Matsushita Elec. Indus. Co. v. Zenith Radio Corp.,

475 U.S. 574, 586–87 (1986); and Holtz v. Rockefeller & Co., 258 F. 3d 62, 69 (2d Cir. 2001);

Anderson v. Liberty Lobby, Inc., 477 U.S. 242, 248 (1986)).

               On cross-motions for summary judgment, the Court is to “evaluate each party’s

motion on its own merits, taking care in each instance to draw all reasonable inferences against

the party whose motion is under consideration.” Id. (quoting Schwabenbauer v. Bd. of Educ. of

Olean, 667 F.2d 305, 314 (2d Cir. 1981)).

                                              FACTS

                Plaintiff relies upon and refers to the Statement of Undisputed Facts submitted

together with this Motion pursuant to S.D.N.Y. Local Rule 56.1.

                                          ARGUMENT

I. Sec. 16(b) Creates Strict Liability,
   Requiring the Defendants to Disgorge Their Short-Swing Profits
   Without Proof of Misuse of Inside Information or of Intent to Violate the Statute

     A. The Framework of the Statute

               The elements of a violation of Section 16(b) are set forth in the Overview section

of this Brief. (See supra, citing Gwozdzinsky, etc.)

               Section 16(b) is prophylactic in nature. The statute is intended to remove all profits

from trading by statutory insiders within periods of less than six months, and thereby to remove

all financial incentive to engage in such trading. The purpose of Section 16(b) is expressly stated

in its preamble as the prevention of misappropriation of information not known to the general

public by insiders charged with fiduciary responsibilities. See 15 U.S.C. § 78p (“For the purpose

of preventing the unfair use of information …”). The method of prevention chosen by Congress is



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described as “Draconian,” as no showing of actual misuse of information need be shown to

establish liability. Tyco Labs., Inc. v. Cutler-Hammer, Inc., 490 F. Supp. 1, 5 (S.D.N.Y. 1980).

               The law of the Second Circuit as, indeed, of every other Circuit, is perhaps most

clearly expressed in the unanimous panel decision in Donoghue v. Bulldog GP, 696 F. 3d 170, 174

(2d Cir. 2012), in which one of the authors of this Brief was plaintiff’s counsel:

                “The purpose of Sec. 16(b) is stated in its opening clause: to prevent ‘the
       unfair use of information which may have been obtained by a beneficial owner,
       director or officer by reason of his relationship to the issuer.” 15 U.S.C. § 78p(b)….
       Congress did not simply proscribe trading on inside information; rather, it enacted
       a ‘flat rule’ that takes the profits out of an entire ‘class of transactions’ occurring
       within a prescribed time frame ‘in which the possibility of abuse’ of inside
       information ‘was believed to be intolerably great.’ Reliance Elec. Co. v. Emerson
       Elec. Co., 404 U.S. at 422.

              In discussing the reason for Sec. 16(b)’s rule of strict liability, Judge
       Learned Hand observed that ‘if only those persons were liable, who could be proved
       to have a bargaining advantage, the execution of the statute would be so
       encumbered as to defeat its whole purpose.’ Gratz v. Claughton, 187 F.2d 45, 50
       (2d Cir. 1951) (reiterating well-settled principle ‘that a statute may provide any
       means which can reasonably be thought necessary to deal with the [identified] evil,
       even though they may cover instances where it is not present’).

               … Sec. 16(b)’s flat rule effectively makes 10% ‘beneficial owners
       fiduciaries as directors and officers were anyway,’ at least to the extent of making
       all short-swing transactions by such persons in the issuer’s stock ‘breaches of trust.’
       Id. at 49 (internal quotation marks omitted); see also Adler v. Klawans, 267 F.2d
       840, 844 (2d Cir. 1959) (commenting that Congress’ ‘intent in the enactment of
       Sec. 16(b) was to discourage what was reasonably thought to be a widespread abuse
       of a fiduciary relationship’ by ‘three classes of persons’).

              Thus, Bulldog cannot maintain that it owed no fiduciary duty to Invesco.
       That fiduciary duty was created by Sec. 16(b), and it conferred upon Invesco an
       enforceable legal right to expect Bulldog to refrain from engaging in any short-
       swing trading in its stock.

               Nor can Bulldog deny any injury to the issuer from its short-swing trading
       by pointing to the fact that Sec. 16(b) operates without regard to whether the
       statutory fiduciaries were actually privy to inside information or whether they
       traded with the intent to profit from such information. This confuses the
       wrongdoing that prompted the enactment of Sec. 16(b) – trading on inside
       information – with the legal right that Congress created to address that wrongdoing


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       – a 10% beneficial owner’s fiduciary duty to the issuer not to engage in any short-
       swing trading.

               As Judge Hand explained, even at common law, a fiduciary’s duty to a
       beneficiary often required more than the avoidance of actual unfair dealing. A
       trustee with power to sell trust property is under a duty not to sell to himself either
       at private sale or at auction, whether the property has a market price or not, and
       whether the trustee makes a profit thereby.’ Gratz v. Claughton, 187 F. 2d at 49
       (quoting Restatement of Trusts 170(l). cmt b). Drawing an analogy between trust
       law and the fiduciary duty created by Sec.16(b), Judge Hand observe that ‘nobody
       is obliged to become a director, an officer, or a beneficial owner; just as nobody is
       obliged to become the trustee of a private trust’ but, as soon as he does so, he accepts
       whatever are the limitations, obligations and conditions attached to the position,
       and any default in fulfilling them is as much a ‘violation of law as though it were
       attended by the sanction of imprisonment.’ Id.

               Thus, pursuant to Sec. 16(b), when a stock purchaser chooses to acquire a
       10% beneficial ownership stake in an issuer, he becomes a corporate insider and
       thereby accepts the limitation that attaches to his fiduciary status: not to engage in
       any short-swing trading in the issuer’s stock. Id. At that point, injury depends not
       on whether the Sec. 16(b) fiduciary traded on inside information, but on whether
       he traded at all.

                To be sure, this statutory arrangement provides issuers (and their
       shareholders) with an incentive to police short-swing trading by beneficial owners,
       directors and officers, to the benefit of the market as a whole. Nevertheless, because
       the issuer’s right to profits under Sec. 16(b) derives from breach of a fiduciary duty
       created by the statute in favor of the issuer, the issuer is no mere bounty hunter but,
       rather, a person with a cognizable claim to compensation for the invasion of a legal
       right.”

     B. Each Defendant Was a Beneficial Owner of the New Concept Shares Traded

               Gentile was the sole owner of MintBroker at all times relevant, including the times

that MintBroker was a more-than-10% beneficial owner of New Concept Common Stock. Gentile

was also MintBroker’s Board Chairman, and totally controlled MintBroker’s actions in all

respects, including with respect to the hands-on trading of New Concept stock at the heart of this

case. At all times that MintBroker was a more-than 10% beneficial owner of GBR Common Stock,

Gentile was thereby also a more-than-10% beneficial owner of New Concept Common Stock.




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               A sole shareholder of a corporation is deemed the beneficial owner of the

corporation’s portfolio securities, because the corporation is, in effect, the shareholder’s alter ego.

See, e.g., Blau v. Mission Corp., 212 F. 2d 77, 80 (2d Cir. 1954), cert. denied, 347 U.S. 1016 (1954)

(insider corporation deemed the beneficial owner of securities held by a subsidiary over which it

has “absolute-control”); see also Blau v. Lamb, 242 F. Supp. 151, 159 (S.D.N.Y. 1965), aff’d in

part, rev’d in part, 363 F. 2d 307 (2d. Cir. 1966), cert. denied, 385 U.S. 1002 (1967) (insider

deemed beneficial owner of issuer securities held by wholly owned corporation); Grossman v.

Young, 72 F. Supp 375, 376 (S.D.N.Y. 1947) (without discussion, court treated insider as beneficial

owner of securities held by “wholly owned and controlled corporation”); see generally Huppe v.

WPCS Internat’l, Inc., 670 F.3d 214, 221-22 (2d Cir. 2012) (holding that a controlling shareholder

or employee of a corporation, who has authority to vote or dispose of securities owned by the

corporation, is deemed an additional beneficial owner of the securities beneficially owned by the

corporation for purposes of Sec. 16, which imports Sec. 13(d) concepts into the definition of

beneficial ownership relevant to the determination of “insider” status) (citing Romeo & Dye, Sec.

16 Treatise & Reporting Guide (3d. ed. 2008), at 134-35)); see also Romeo & Dye, Sec. 16

DeskBook at 285.

               Instructions for reporting on Form 3 under Section 16(a) of the Act accordingly

direct that securities are deemed “beneficially owned” by shareholders with a direct or indirect

pecuniary    interest   in   them.   See   SEC     Form     3   Gen.    Instr.   5(b)   (available   at

https://ww.sec.gov/files/form3data.pdf). See also Donoghue v. Casual Male Retail Grp., Inc., 375

F. Supp. 2d 226, 234 (S.D.N.Y. 2005), vacated on other grounds, 427 F. Supp. 2d 350 (S.D.N.Y.

2006); Donoghue v. Genomica Corp., No. 02-cv-110, 2003 WL 1609191, at *1 (S.D.N.Y. Mar. 7,

2003); SEC v. Sierra Brokerage Svcs., Inc., 608 F. Supp. 2d 923, 956 (S.D. Ohio 2009).



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               Thus, transactions in New Concept securities by Gentile’s wholly-owned and

controlled entity MintBroker are treated as if they were Gentile’s own transactions. See generally

Romeo & Dye, Sec. 16 Deskbook at 285.

II. MintBroker and Gentile Purchased and Sold New Concept Shares
    During a Brief Time Period Between June 29 and July 3, 2018, While They Were
    Beneficial Owners of More Than 10% of the Outstanding Shares of New Concept Stock

               The Defendants traded shares of New Concept during a time period in which their

beneficial ownership of New Concept Common Stock exceeded 10% of the outstanding shares of

New Concept common stock, as reflected in their Schedule 13D filed on Sept. 17, 2018, which

reported their New Concept transactions (Ex. F). Defendants also produced a spreadsheet of their

New Concept transactions (Ex. G).

               Defendants’ broker, Interactive Brokers, Inc., produced “Activity Statements”

reflecting the New Concept trades executed in MintBroker’s trading accounts held at Interactive.

These “Activity Statements” were authenticated by Interactive’s F.R.C.P. 30(b)(6) deponent (Brad

Klauseger), who further testified that every trade appearing on each of the “Activity Statements”

was routed to and executed on a securities exchange. (See Ex. C, Interactive Dep. Tr. at pp. 10-

43). The Defendants have further stipulated that the trading reflected on the “Activity Statements”

accurately reflects the Defendants’ “proprietary” trading in the Interactive accounts. (See Ex. B).

               To the extent there are discrepancies between the trades reported on Defendants’

Schedule 13D, the trades reflected on the spreadsheet produced by the Defendants, and/or the

“Activity Statements,” the “Activity Statements” are relied on for purposes of computing the

Defendants’ liability. Relevant pages from the “Activity Statements” are attached as Exhibit D &

Exhibit E, and the transactions reflected on the Activity Statements are consolidated at Exhibit H.




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               As reflected at Exhibit H, simple arithmetic places Defendants’ entry into insider

status on June 29, 2018, at 10:05:36, and their exit on July 3, 2018, at 9:38:17. (See Ex. H.) These

8 transactions are not included in the matching analysis performed by Plaintiff to calculate

Defendants’ liability at Exhibit M.

III.    If Defendants Do Not Accept Exhibit M as Correctly Computed,
        the Matter of Damages Should Be Referred to a
        Master for Further Proceedings Pursuant to F.R.C.P. 53(a)(1)(B)(ii)

               In the “Overview” of this Brief, Plaintiff demonstrates with citations to authority

that damages must be computed by matching purchase and sales on basis of “lowest-in, highest

out within less than six months.”

               A total of 6,080 transactions were executed by the Defendants during the short

swing period (i.e., the period of time when their beneficial ownership exceeded 10% of outstanding

New Concept Common Stock); involving 1,661,433 shares purchased, and 1,663,181 shares sold

(more or less). New Concept has computed damages and those computations appear at Exhibit M.

They amount to $6,1002,002. (See Ex. M p.28.) This is New Concept’s “prima facie proof of a

maximum amount of profits.” Stella v. Graham-Paige Motors Corp., 232 F. 2d 299, 302 (2d Cir.

1956), cert. denied, 352 U.S. 831 (1956).

               The calculations submitted with this Motion discharge Plaintiff’s initial burden of

establishing Defendants’ maximum liability under Section 16(b). The burden of proof of a lesser

amount as the correct measure of recovery now shifts to the Defendants. Id; see also Mueller v.

Korholtz, 449 F.2d 82, 95-86 (7th Cir. 1971), cert. denied, 405 U.S. 922 (1972). Should Defendants

accept Exhibit M as showing a correct measure of damages, no further proceedings will be needed.

Judgment can be entered for Plaintiff in the amount of the computed damages, plus pre-judgment




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interest. See Roth v. Jennings, No. 03-cv-7760 (DAB), 2009 WL 1440670, at *1 (S.D.N.Y. May

21, 2009) (pre-judgment interest awarded consistent with the remedial purpose of Sec. 16).

               If not, Plaintiff suggests that further proceedings will be necessary and best carried

out by the Magistrate Judge assigned to the case, who has some familiarity with the issues, acting

as a master under F.R.C.P. Rule 53(a)(1)(B)(ii), or by any other suitable person designated by Your

Honor to undertake that role. Because of the large number of trades, the matching exercise—the

accounting—will involve considerable complexity and will best be carried out by an officer vested

with fact-finding powers. Nonetheless, the numbers (i.e., the shares traded by the Defendants, and

the prices of Defendants’ trades) have been known to the parties since inception of this case, and

Defendants’ brokerage records, which more specifically identify Defendants’ executed trades, have

now been produced and stipulated as accurate by the Defendants. There is no need for further delay

in proceeding to determine the precise amount of Defendants’ liability and entering judgment for

the Plaintiff. See Blau v. Hodgkinson, 100 F. Supp. 361, 374 (S.D.N.Y. 1951) (“The parties to this

litigation should be able to calculate and agree upon the profits derived by each of the defendants

… . If the parties cannot so agree, the court will name a special master to hear testimony on that

issue and determine the amount due the corporation on those transactions, under Sec. 16(b)”).

IV.    The First Affirmative Defenses Is Unsupported by Articulation or Evidence.
       It Is Based on Pure Fabrications, and Without any Merit Whatsoever.

               As a FIRST AFFIRMATIVE DEFENSE, Defendants assert:

               “Without assuming the burden of proof, Defendants state that some or all of
       Plaintiffs claims or asserted damages fail because many of the alleged trades at
       issue either failed to clear or were related to shares that did not exist (because the
       trades were “naked” short sales made by market makers that had not borrowed
       shares and had failed to obtain a “locate” before the short as required by SEC
       regulations).” (Dkt #39 pp.7-8.)

         A. Defendants Have Not Identified or Demonstrated a Single Clearing Failure



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                There is no defense to Section 16(b) based on purported “clearing” failures or

“naked” short selling. The clearing of Defendants’ trades and the actual delivery of shares, by short

sellers or otherwise, is irrelevant to Defendants’ Section 16(b) liability.

                 Defendants bear the burden of proof on affirmative defenses and cannot decline to

“assume” that burden. See Packer v. Raging Capital Mgmt., LLC, 242 F. Supp. 3d 141, 149 (2017)

(Defendants had burden of pleading and proving entitlement to the registered investment advisor

(RIA) exemption under Sec. 16, and could not require plaintiff to disprove an issue of fact that

Defendants “created” in support of this defense; citing Egghead.com, Inc. v. Brookhaven Capital

Mgmt. Co., 340 F.3d 79, 82 (2d Cir. 2003)). Defendants, throughout discovery have been unable

to identify a single trade that failed to clear.

                Defendants’ lack of evidence in support of this defense was laid bare at Gentile’s

deposition:

       “Q.      Okay. Great.
                Okay. So now moving on, about those trades, one of your defenses in
                this case is that some of these trades failed to clear; is that correct?

        A.      I don’t know what -- they put in there.

        Q.      Well, we can go to the answer if you want but –

        A.      I don’t know if we said they failed clear. Assumed they would have.
                I don’t remember.”

                (Ex. A, Gentile Dep. Tr. p. 87 at l:24 - p. 88 at l: 8).

                It is clear from Gentile’s testimony that the First Affirmative Defense is lawyer’s

boiler plate without a factual foundation or consultation with Gentile. We include at Exhibit A

several pages of follow-on examination, which meanders in evasion of the simple inquiry into

what transactions failed to clear.

                Beginning at page 89 at l:16 (Ex. A), the examiner asks:


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       Q.      So is it your contention that many of the trades on the 13Ds, which are
               Exhibits 3 and 4, I believe? No. 1 and 2, just to be clear, 1 and 2, that they
               failed to clear?

       A:      I believe that they were most of the shares. I believe many of the shares
               were shorted, and that they were also done illegally, or illegally shorted.
               And had I not sold the shares, that they would have all failed, or most would
               have failed to clear.”

               Gentile’s testimony is that he saved the naked shorts from failing to clear by selling

to the shorts he was squeezing shares that he had acquired from them. And so, by his own words,

he is testifying that the naked shorts did not fail at delivery. The cavalry to the rescue!

               It is the essence of a short squeeze that the person engineering the squeeze buy, or

otherwise gain control of, as many shares as possible before springing the trap. When the the naked

short sellers are forced to cover under Regulation SHO, the squeezer will be the main source of

supply for covering the shares and will offer to sell at an “asking price” as high as the market will

bear. See Regulation SHO, 17 C.F.R. § 242.200 (Ex. O). (See also Ex. P, SEC’s “Key Points About

Reg. SHO”).

               On day 3 following a naked short sale (i.e., “Trade date” plus 3 trading days, or

“T+3”), Regulation SHO requires the sellers’ brokers to go into the market and buy-in shares to

cover their customers’ short positions at whatever price the market calls for, charging the

customers’ accounts. In effect, the brokers are guarantors of their customers’ performance at their

customers’ expense. As the Complaint recites, during a few days (roughly corresponding to

Defendants’ T+3 dates), the trading price of New Concept stock skyrocketed. (See also Ex. I). But

all of Defendants’ executed trades cleared, as required by SEC Rules, including Regulation SHO—

unless Gentile, on this Motion, can answer the deposition questions he uniformly evaded.

       B.      The “Clearing” of Trades Is Irrelevant to Defendants’
               Insider Status and to Their Short Swing Trading Liability



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               Without any evidence Defendants assert that an unspecified number (“many”) of

their trades “failed to clear.” “Clearing” refers to the mechanics of settling stock transactions, the

process by which shares of stock are transferred or delivered by the seller in exchange for payment

of the purchase price by the buyer. The “clearing” of trades has no bearing on whether Defendants

were subject to Section 16(b) or realized short swing profits.

               What constitutes a purchase under the 1934 Act is a matter of federal law. See

Rubenstein v. Cosmos Holdings, Inc., No. 19 Civ. 6970 (KPF), 2020 WL 3893347, at *5 (S.D.N.Y

July 10, 2020); see also Morales v. Gould Inv. Trust, 445 F. Supp. 1144, 1151 (S.D.N.Y) aff’d, 578

F. 2d 1369 (2d Cir. 1978); Oliff v. Exch. Int’l Corp. 449 F. Supp. 1277, 1293 (N.D. Ill 1978), aff’d

669 F. 2d 1162 (7th Cir. 1980).

               The Exchange Act provides that “unless the context otherwise requires,” the terms

“buy” and “purchase” each includes any contract to buy, purchase, or otherwise acquire.” 15

U.S.C. § 78(a)(13). This language has been interpreted to make an individual a “purchaser” for

purposes of Section 16 at the time when he or she “incur[s] an irrevocable obligation to take and

pay for the stock.” Plumbers’ Union Local No. 12 Pension Fund v Swiss Reinsurance Co., 753 F.

Supp. 2d 166, 177 (S.D.N.Y. 2010) (citing Blau v. Ogsbury, 210 F. 2d 426, 427 (2d Cir. 1954)).

Thus, a stock is “purchased” within the meaning of Section 16(b) when “the investor becomes

irrevocably committed to the transaction and, in addition, no longer has control over the transaction

in any way that could be turned to speculative advantage by the investor.” Prager v. Sylvestri, 449

F. Supp. 425, 432-33 (S.D.N.Y 1975).

               Federal courts have been clear that technicalities such as the passing of title, e.g.,

by the “clearing” process referred to in this case, or the exchange of actual shares following the

execution of trades, are of no import for Section 16(b) purposes. See Cosmos, 2020 WL 3893347,



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at **5-6; cf. Connell v. Johnson, No. 20 Civ. 1864 (LLS), 2020 WL 2748439, at **2-3 (S.D.N.Y.

May 27, 2020) (orders that were placed, but not executed, did not give rise to Sec. 16(b) liability).

As the Supreme Court has noted, “the crucial point in the acquisition of securities is not the

technical ‘purchase’ but rather the decision to make an acquisition.” Foremost McKesson, Inc. v.

Provident Secs. Co., 423 U.S. 232, 254 & n. 28 (1976).

               Defendants were insiders subject to Section 16 at all times when their “beneficial

ownership” exceeded 10% of Plaintiff’s outstanding shares. For purposes of determining their

insider status under Section 16(a) and SEC Rule 16a-1, Defendants were “beneficial owners” of

all shares over which Defendants exercised voting or dispositive authority (ie., any shares that the

Defendants had the right to vote or sell) within 60 days. See 17 C.F.R. § 240.16a-1(a)(1) (defining

“beneficial ownership” for purposes of determining insider status by reference to the definition

applicable under Section 13(d); 17 C.F.R. § 240.13d-3(a) (“beneficial ownership” includes all

shares over which voting and dispositive authority may be exercised within 60 days).

               Under SEC Rule 15c6-1, securities transactions executed through a brokerage

account (like Defendants’ trades executed in the Interactive Brokers Trading Accounts, Exhibit D)

are required to provide a “settlement” date—i.e., the date for completion of the clearing process,

with shares delivered and payment received—within 2 trading days of execution (a time frame

known as “T+2”). 17 C.F.R. § 240.15c6-1. Regulation SHO provides for clearing failures

attributed to short selling to be remedied by requiring the sellers broker to buy the shares needed

for delivery and settlement on the following trading day (“T+3”). 17 C.F.R. § 242.200 et. seq. (See

Ex. O; see also Ex. P).

               Defendants acquired “beneficial ownership” of shares of stock when their purchase

orders were executed by their broker (Interactive), because upon execution, Defendants acquired



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immediate dispositive authority over the shares purchased—even prior to settlement, and

irrespective of any settlement delays caused by clearing failures or attributable to short selling.

Because Regulation SHO provides for specific performance of executed brokerage orders at the

sole expense of the seller. The purchaser’s right of delivery and interest in the shares—and

crucially, their right to sell the shares—is not contingent on the clearing process or the timing of

settlement. He who can sell shares can speculate in those shares.

               Thus, any purported “clearance” problems associated with Defendants’ executed

transactions do not provide Defendants with a defense to liability as a matter of law (and in fact

the clearing or settlement process required by Regulation SHO worked in the Defendants’ favor,

by requiring them to sell shares to the naked shorts at exorbitant prices, as further discussed below).

And in any event, every share pleaded as purchased or sold is shown by the Defendants’ own

brokerage records (Ex. D & Ex. E.) to have cleared and settled.

               Interactive Broker’s F.R.C.P. 30(b)(6) witness testified that a purchase by the

Defendants that failed to clear would result in a “liquidation” of the position, which would appear

as a “long account” transaction designated with code “L.” (Ex. C, Interactive Dep. Tr. pp. 94-97.)

None of the transactions in the long account have an “L” designation—consistent with the

expectation and requirement that all trades either cleared by the T+2 settlement date, or that any

clearing failures associated with shares purchased from short sellers were remedied by T+3.

               Interactive’s witness further testified that a sale by Defendants that failed to clear

would result in a “buyout” of the position, appearing as a “short account” transaction designated

with transaction code “B.” (Id.) This is in line with the “buy to cover” obligations of short sellers

under Regulation SHO. None of the “short account” transactions are designated with code “B,”




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meaning that Defendants owned the shares they sold at settlement and did not “fail to deliver” the

shares to their counterparties.

               Defendants have suggested that records produced by Plaintiff’s transfer agent

support their “clearing” defense because the documents do not identify either of the Defendants as

“record owners” of New Concept stock. When transactions are executed through brokerage

accounts (like the Defendants’ Trading Accounts at Interactive), the clearing process is

accomplished electronically, without the issuance of physical stock certificates. The brokerage

firm is the “record owner,” but their clients are the “beneficial owners” of the stock in their

accounts, even though stock certificates would not be issued to, or exist in the name of, individual

brokerage customers unless specifically requested. See, e.g., Teachers’ Ret. Sys. Of La. v. A.C.L.N.,

Ltd., No. 01-cv-11814 (MP), 2004 WL 304018, at *2 (S.D.N.Y. Feb. 18, 2004) (noting that brokers

were record owners and not beneficial owners); see also Merrill Lynch, Pierce, Fenner & Smith

Inc. v. Amsted Indus. Inc., No. 05-cv-5886 (RO), 2007 WL 2106114, at **1-2 (S.D.N.Y. July 17,

2007) (notice of beneficial ownership provided although record ownership was not perfected).

   C.      Defendants Profited From any ”Naked” Short Selling by Their Counterparties

               Defendants also assert that some of the shares traded “did not exist” because they

were sold “by naked short sellers” who failed to “borrow” or “locate” the shares prior to selling,

as required by SEC Regulations (specifically, Regulation SHO). Whether or not “locate” or

“borrow” rules were followed—and that they did not is pure speculation—is a matter for dispute

between the naked short sellers (if any), and their brokers.

               The broker’s obligation to timely deliver shares sold by short selling customers to

the purchasing counterparties by the required settlement date is governed by Regulation SHO,

which has four basic requirements for short selling, summarized by the SEC as follows:



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         1) “Marking Requirements.” Brokers are required to mark executed sales as “long
            or short.” (“Long” where the seller owns the security and expects to own and
            deliver the security at settlement; “short” where the seller does not own the
            security, or does not expect to own the security at settlement).

         2) “Short Sale Price Test Circuit Breaker.” Short sale price “circuit breakers.”
            Short sales are prohibited at certain prices when a stock experiences a price
            decline of 10% or more in a given day.

         3) “Locate Requirement.” Prior to executing a short sale, brokers are required to
            borrow or “locate” shares, i.e., document their identification of shares that could
            be borrowed to fulfill their (or their customers’) delivery obligations at
            settlement (i.e., on T+2).

         4) “Close-out Requirement.” If any short sales resulted in fails to deliver on T+2,
            the executing broker must “close out” the position on the next trading day
            (T+3), by buying shares of “like kind and quantity” as needed to satisfy, or
            “cover,” the broker’s short-selling client’s delivery obligations to the
            purchaser.2 The broker’s obligation to “close” the short position continues as
            long as fails persist; and the broker is prohibited from executing further short
            sales without “pre-borrowing” the shares until the short positions are cleared.

         (Ex. O; see also Ex. P)3

                While Defendants focus on the “locate” requirement, it is the “close out”

requirement that is central to their apparent manipulative trading—and to their Section 16(b)

liability.

                At his deposition, Gentile clarified that he does not claim to have engaged in any

naked short selling himself; but speculates that some of his counterparties were naked short sellers.



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       If brokers can establish that long positions held by their clients caused a delivery failure,
the broker is nonetheless required to close out the position although additional trading days may
be permitted for the broker to sort out the issue and clear the trade. (Ex. O; see also Ex. P at p. 4.)
Accordingly, Regulation SHO required Defendants’ broker to remedy any clearing issue or
delivery failure associated with the Defendants’ executed trades, regardless of whether the
Defendants or their counterparties were short sellers.
3
        The SEC summary accompanying the text of Regulation SHO at Exhibit P refers to the
outdated T+3 settlement date and refers to the next-day delivery “close out” requirement for short
sellers as T+4. The required timing for settlement was subsequently shortened to T+2; and the
Regulation SHO next-day delivery date is now T+3. See 17 C.F.R. § 240.15c6-1.

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(Ex. A, Gentile Dep. Tr. pp. 89-176.) Interactive’s witness testified that there was no way to

determine whether any of Defendants purchases were from short sellers—let alone from “naked”

short sellers, or sellers that failed to “borrow or locate” shares. (Ex C, Interactive Dep. Tr. pp. 106-

109, 145-157.) As discussed above, this is consistent with Regulation SHO, which requires seller’s

broker to cure any failure to deliver by buying the shares they failed to locate, while the buyer’s

interest in (and “beneficial ownership” of) the shares is unimpaired.

                As Interactive’s witness explained, the failure to “locate” or deliver shares does not

mean the shares “did not exist,” but only that the shares were not within the possession of the seller

to transfer to the buyer on the T+2 settlement date. (Id. pp. 158-170.) Shares of New Concept

existed and might be purchased by the sellers, at an artificially inflated price, to fulfill their delivery

obligations. Reg. SHO requires the seller’s broker to purchase and deliver those shares on the next

trading day—even if the price is significantly higher than the price at which the seller expected the

shares would be “located.”

                If more shares are shorted than are available to locate, some of the short sales will

result in failures to deliver on the required settlement date. But even if all of the outstanding short

sales cannot be settled on the same day, they can and will be settled on following days when the

short sellers are required to buy the shares at any “asking” price demanded by owners of the stock.

                Regulation SHO not only resolves delivery failures in favor of the purchasers, but

also allows purchasers to profit from selling shares that their counterparties are unable to deliver.

In the event of excessive short selling causing widespread delivery failures, as occurred in New

Concept stocks, the buyers (i.e., the long parties to the short sales, e.g., the Defendants in this case)

are not left empty-handed as the purchasers of stock that “does not exist.” Instead, the short sellers’

brokers are required to cure their delivery failures by buying the failed securities—at the short



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seller’s expense, and at any cost. The mandated demand for shares drives up the asking price for

the shares causes a “short squeeze.”

                The squeeze provides owners of the stock—including those who purchased the

stock from short sellers in the first place—with the opportunity to sell the shares back to short

sellers scrambling to “cover” their positions at inflated prices. By virtue of the “close out”

requirement, Defendants, as purported purchasers of stock from short sellers, would suffer no loss,

and would only stand to benefit, from any failure by their counterparties to comply with the

“locate” requirement. Merely glancing at the historical trading prices for New Concept during and

surrounding the Defendants’ trading activity confirms that a “short squeeze” is precisely what

occurred in this case. (See Ex. I)

                The data on delivery failures further suggests that the Defendants both orchestrated

and profited from the short squeeze. Defendants accumulated the bulk of their New Concept

position in their lowest-priced purchases a few trading days before the dates on which delivery

failures appeared in these stocks. (See 56.1 Statement ¶ 9 & Ex. J p. 32.) Defendants’ sold the bulk

of these stocks—and at the most profitable prices—when demand was subsequently driven by the

“close out” requirement. (See id. & Ex. H.) In other words, Defendants bought up all the shares

they could to fuel a delivery fire, and then charged exorbitant prices to sell back the shares needed

to put the fire out.

                Plaintiff’s claim does not fail because of possible “locate” or “borrow” violations

by Defendants’ counterparties. It is precisely because of Regulation SHO compliance that

Defendants were able to manipulate the price of these thinly traded stocks and reap profits at the

expense of short sellers required to close out their positions within 2 days. (See generally Ex. J.)




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                                         CONCLUSION

               MintBroker and Gentile, while more-than-10% beneficial owners of the Common

Stock of New Concept, purchased and sold shares of that class with resulting profit. That profit

belongs to New Concept and the court should so declare with a finding of liability.

               New Concept’s provisional computation of profits has been submitted on this

Motion. It is $6,102,002. (Ex. M.) If MintBroker and Gentile accept it as correct, that sum (plus

pre-judgment interest) may be entered as part of the final judgment. If MintBroker and Gentile do

not accept it as correct, it is their burden to show what lower number might instead be correct. This

will involve further proceedings and New Concept asks that a master be appointed to hear and

decide, or to hear and report.

                                  Respectfully submitted,

      s/ Miriam Tauber                                       s/ David Lopez
____________________________                              _____________________________
      Miriam Tauber, Esq.                                          David Lopez, Esq.
     Attorney for Plaintiff                                      Attorney for Plaintiff




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